                             Case 4:22-cr-01818-SHR-BGM Document 1 Filed 07/29/22 Page 1 of 1
                                                     CRIMINAL COMPLAINT
                                                       (Electronically Submitted)
                                United States District Court                      DISTRICT of ARIZONA

                                   United States of America                                           DOCKET NO.
                                              v.
                                       Nicholas Fuentes
                                                                                                      MAGIST~z'S ifsE N~.
                                 DOB: 1996; United States Citizen
                                                                                                                      •   7 ll2MJ
                      Complaint for violation of Title 8 United States Code§ l324(a)(l)(A)(ii) and 1324(a)(l)(B)(ii)
  COMPLAINANT'S STATEMENT OF FACTS CONSTITUTING THE OFFENSE OR VIOLATION:
  On or about July 28, 2022, in the District of Arizona, Nicholas Fuentes, knowing or in reckless disregard that ce1tain
  illegal aliens, including Noe De Jesus Romero-Vazquez and Sebastian Lopez-Giron, had come to, entered, and
  remained in the United States in violation of law, did transpo1t and move said aliens within the United States by means
  of transportation and otherwise, in fintherance of such violation of law; in violation of Title 8, United States Code,
  Section 1324(a)(l)(A)(ii) and 1324(a)(l)(B)(ii).
  BASIS OF COMPLAINANT'S CHARGE AGAINST TI-IE ACCUSED:
  On July 28, 2022, at approximately 4:10 p.m., Border Patrol Agents (BPAs) working checkpoint duties at the
  immigration checkpoint located on State Route (SR) 82 near mile marker 32, encountered a white 2018 Range Rover
  Velar. As the vehicle approached primary inspection, the driver slowed the vehicle down but failed to stop for an
  immigration inspection. As the vehicle passed the BP A in primmy, the BPA tapped on the rear driver side window
  and yelled "stop" but the driver ignored the cmmnand and continued eastbound on SR 82. BPAs pursued the vehicle
  in their marked government vehicles and activated their emergency lights and sirens to conduct a vehicle stop. The
  vehicle yielded near the intersection of SR 82 and SR 83. BP As approached the vehicle and ordered the driver,
  identified as Nicholas FUENTES, to lower the windows to which he complied. BP As observed five individuals in the
  back seat of the vehicle and the rear cargo area attempting to lay down and stay out of view. An immigration inspection
  was conducted, and the five individuals, to include Noe De Jesus Romero-Vazquez and Sebastian Lopez-Giron, were
  all determined to be citizens of Mexico illegally present in the United States.

  Records checks revealed that Noe De Jesus Romero-Vazquez and Sebastian Lopez-Giron do not possess the proper
  documentation to enter, pass through or remain in the United States legally.

  Material witness NCle De Jesus Romero-Vazquez stated he illegally crossed into the United States and his brother was
  paying for him. Romero stated he crossed with a group of two other non-citizens. Romero stated the vehicle that picked
  him up was the same vehicle, he was arrested in. Romero was able to positively identify FUENTES as the driver of the
  vehicle from a photo lineup.

 Material witness Sebastian Lopez-Giron stated he illegally crossed into the United States with a group of four non-
 citizens and one foot-guide. Lopez stated he is a citizen of Mexico and does not possess the proper immigration
 documentation to enter, pass through or remain in the United States legally. Lopez was able to positively identify
 FUENTES as the driver of the vehicle he was picked up in from a photo lineup.
 MATERIAL WITNESSES IN RELATION TO THE CHARGE: Noe De Jesus Romero-Vazquez and Sebastian Lopez-
 Giron
 Detention Requested                                         SIGNATURE OF COMPLAINANT
       Being duly swom, I declare that the foregoing is
       true and c011'ect to the best of my knowle ge.
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 AUTHORIZED BY: AUSA I-INS/pl                 ./1 !'.
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                                                             OFFICIAL TITLE
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      Sworn by telephone _x~ /
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                                                            -Border Patrol Agent
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  SIGNATURE OF                    Mtt§~i"G~
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                                                                                                      DATE
                                                                                                      July 29, 2022
ll See Fedml rul~s of Criminnl l'roccdur~~,l\~-~~::!:~~~~~--:C.:-::~,.- '"'·,,           ,,__,,
